Case 1:21-cv-02375-LDH-LB Document 23 Filed 11/16/21 Page 1 of 1 PageID #: 52



   417 Lorimer Street
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   Apt #3A
   Brooklyn, NY 11206-1085

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   November 16, 2021
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                                                                         NOV 1 6 2021
   District Court Judge
   Judge LaShann DeArcy Hall                                        PRO SE OFFICE
   c/o U.S. District Court, EDNY
   225 Cadman Plaza East
                                                                                 FILED
                                                                              IN CLERK'S OFFICE
   Brooklyn, NY 11201                                                     US DISTRICT COURT E.D.N.Y.

                                                                         * NOV 1 6 2021           i,
   RE: Fontaine v. La Cabana Apartments- 1:21-cv-02375-l-LDH*LB BROOKLYN OFFICE

   District Court Judge

   Judge LaShann DeArcy Hall

   c/o U.S. District Court, EDNY
   225 Cadman Plaza East
   Brooklyn, NY 11201




   Dear Judge DeArcy Hall:

   Per my prior communications, I humbly ask that you please dismiss my case; without
   prejudice.

   Respectfully submitted for your favorable consideration.



   "/s/[Matiya J Fontaine]."

   FontaineMJ LaCabana@Yahoo.Com

   646.229.2086
